                Case 19-03137-hb                  Doc 1     Filed 06/10/19 Entered 06/10/19 22:45:41                             Desc Main
                                                            Document      Page 1 of 12
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Jeff Mills & Co., LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2652 Starnes Road
                                  Edgemoor, SC 29712
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Chester                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 19-03137-hb                   Doc 1        Filed 06/10/19 Entered 06/10/19 22:45:41                              Desc Main
Debtor
                                                                 Document      Page 2 ofCase
                                                                                         12 number (if known)
          Jeff Mills & Co., LLC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                Relationship
                                                  District                                 When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                Case 19-03137-hb                Doc 1        Filed 06/10/19 Entered 06/10/19 22:45:41                                 Desc Main
Debtor
                                                             Document      Page 3 ofCase
                                                                                     12 number (if known)
         Jeff Mills & Co., LLC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                 Case 19-03137-hb              Doc 1        Filed 06/10/19 Entered 06/10/19 22:45:41                                Desc Main
Debtor
                                                            Document      Page 4 ofCase
                                                                                    12 number (if known)
          Jeff Mills & Co., LLC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 10, 2019
                                                  MM / DD / YYYY


                             X   /s/ Jeanna M. Mills                                                     Jeanna M. Mills
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Member




18. Signature of attorney    X   /s/ Joseph E. Mitchell, III                                              Date June 10, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Joseph E. Mitchell, III
                                 Printed name

                                 Joseph E. Mitchell, III, P.C.
                                 Firm name

                                 Post Office Box 2504
                                 Augusta, GA 30903-2504
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     706-826-1808                  Email address      mitchellje@bellsouth.net

                                 6115 SC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
              Case 19-03137-hb                       Doc 1           Filed 06/10/19 Entered 06/10/19 22:45:41                     Desc Main
                                                                     Document      Page 5 of 12
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                        District of South Carolina
 In re       Jeff Mills & Co., LLC                                                                            Case No.
                                                                                     Debtor(s)                Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,800.00
             Prior to the filing of this statement I have received                                        $                        0.00
             Balance Due                                                                                  $                     1,800.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           Jeff Mills and/or Jeanna Mills

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               adversary proceedings, 362 motions, motions to dismiss;
               Counsel may seek approval of other fees pursuant to Operating Order 09-01 & 13-02
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 10, 2019                                                                  /s/ Joseph E. Mitchell, III
     Date                                                                           Joseph E. Mitchell, III
                                                                                    Signature of Attorney
                                                                                    Joseph E. Mitchell, III, P.C.
                                                                                    Post Office Box 2504
                                                                                    Augusta, GA 30903-2504
                                                                                    706-826-1808 Fax: 706-826-7959
                                                                                    mitchellje@bellsouth.net
                                                                                    Name of law firm




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
              Case 19-03137-hb                       Doc 1           Filed 06/10/19 Entered 06/10/19 22:45:41            Desc Main
                                                                     Document      Page 6 of 12


                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Jeff Mills & Co., LLC                                                                         Case No.
                                                                                    Debtor(s)             Chapter    7


                                           CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)         X     electronic version filed via CM/ECF




 Date:       June 10, 2019                                              /s/ Jeanna M. Mills
                                                                        Jeanna M. Mills/Member
                                                                        Signer/Title

 Date: June 10, 2019                                                    /s/ Joseph E. Mitchell, III
                                                                        Signature of Attorney
                                                                        Joseph E. Mitchell, III
                                                                        Joseph E. Mitchell, III, P.C.
                                                                        Post Office Box 2504
                                                                        Augusta, GA 30903-2504
                                                                        706-826-1808 Fax: 706-826-7959
                                                                        Typed/Printed Name/Address/Telephone

                                                                        6115 SC
                                                                        District Court I.D. Number




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
    Case 19-03137-hb   Doc 1   Filed 06/10/19 Entered 06/10/19 22:45:41   Desc Main
                               Document      Page 7 of 12

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        ARC MANAGEMENT GROUP LLC
                        1825 BARRETT LAKES BLVD
                        STE 505
                        FOR WAYNE EMERGENCY GROUP
                        KENNESAW GA 30144-7518


                        ARCO HARDWARE
                        3711 COMMUNITY ROAD
                        BRUNSWICK GA 31520


                        BANK OF AMERICA
                        P. O. BOX 15019
                        WILMINGTON DE 19886-5019


                        BARCLAYS CARD
                        P O BOX 13337
                        PHILADELPHIA PA 19101-3337


                        BEAUFORT COUNTY TREASURER
                        P O DRAWER 487
                        BEAUFORT SC 29901-0497


                        BERLIN MYERS LUMBER
                        P O BOX 965
                        SUMMERVILLE SC 29483


                        BLUE TARP
                        P O BOX 17825
                        PORTLAND ME 04112


                        BUILDERS MUTUAL GL AUDIT
                        P O BOX 15005
                        RALEIGH NC 27624-0005


                        BUILDERS MUTUAL WC AUDIT
                        P O BOX 15005
                        RALEIGH NC 27624-0005


                        CAPITAL ONE
                        P. O. BOX 71083
                        CHARLOTTE NC 28272


                        CAROLINA COASTAL HOSPITAL
                        1000 MEDICAL CENTER DRIVE
                        HARDEEVILLE SC 29927
Case 19-03137-hb   Doc 1   Filed 06/10/19 Entered 06/10/19 22:45:41   Desc Main
                           Document      Page 8 of 12


                    CHASE BANK CARD
                    P O BOX 15298
                    WILMINGTON DE 19850-5298


                    CHOATE CONSTRUCTION CO
                    C/O ALAN ROSS BELCHER JR ESQ
                    111 COLEMAN BLVD STE 301
                    MOUNT PLEASANT SC 29464


                    CHOATE CONSTRUCTION CO
                    C/O DANIELLE F. PAYNE ESQ
                    735 JOHNNIE DOBBS BLVD STE 200
                    MOUNT PLEASANT SC 29464


                    CLP SYSTEMS
                    NCS 729 MINER RD
                    CLEVELAND OH 44143


                    COASTAL CAROLINA MEDICAL CENTER
                    P O BOX 163279
                    COLUMBUS OH 43216-3279


                    CONTRACTOR NAIL & TOOL
                    P O BOX 633
                    MOUNT PLEASANT SC 29465-7116


                    E.K. HAIGHT, JR. ESP
                    P O DRAWER 6067
                    HILTON HEAD ISLAND SC 29938


                    ESPY LUMBER CO. INC
                    3785 ARGEN BLVD
                    RIDGELAND SC 29936


                    GA DEPT OF LABOR
                    PO BOX 38486
                    ATLANTA GA 30334-0486


                    GA DEPT OF REVENUE
                    1800 CENTURY BLVD NE STE 2206
                    BANKRUPTCY SECTION
                    ATLANTA GA 30345-3205
Case 19-03137-hb   Doc 1   Filed 06/10/19 Entered 06/10/19 22:45:41   Desc Main
                           Document      Page 9 of 12


                    GEORGIA DEPT OF LABOR
                    148 ANDREW YOUNG INTERNATIONAL BLVD, NE
                    ATLANTA GA 30303


                    GEORGIA DEPT OF REVENUE
                    COMPLIANCE DEPT
                    P. O. BOX 105499
                    ATLANTA GA 30348-5499


                    GRAYCO
                    P O BOX 1805
                    BLUFFTON SC 29910


                    HAMPTON HALL LLC
                    C/O MICHAEL A SCARDATO ESQ
                    PO BOX 1431
                    CHARLESTON SC 29402


                    HARRIS ACE HARDWARE
                    386 W CHERRY STREET
                    JESUP GA 31545


                    HERITAGE FOREST PRODUCTS
                    PO BOX 2460
                    DELAND FL 32721


                    HOME DEPOT
                    PO BOX 9001030
                    LOUISVILLE KY 40290


                    HOME DEPOT CREDIT SERVICES
                    P O BOX 9001030
                    LOUISVILLE KY 40290-1030


                    HOWARD LUMBER
                    P O BOX 726
                    STATESBORO GA 30459


                    HUITZI CARPENTRY LLC
                    15 EDISTO COURT
                    OKATIE SC 29909
Case 19-03137-hb   Doc 1   Filed 06/10/19 Entered 06/10/19 22:45:41   Desc Main
                           Document      Page 10 of 12


                    INTERNAL REVENUE SERVICE
                    CENTRALIZED INSOLVENCY OPERATIONS
                    PO BOX 7346
                    PHILADELPHIA PA 19101-7346


                    LOWES
                    SYNCRONY BANK
                    PO BOX 530970
                    ATLANTA GA 30353


                    LPA COLEMAN LLC
                    C/O ALAN ROSS BELCHER JR ESQ
                    111 COLEMAN BLVD STE 301
                    MOUNT PLEASANT SC 29464


                    NCS
                    FOR CLP SYSTEMS
                    729 MINER ROAD
                    CLEVELAND OH 44143


                    RED
                    8200 ROBERTS DRIVE
                    STE 600
                    ATLANTA GA 30350


                    SC DEPT OF REVENUE
                    P O BOX 2535
                    COLUMBIA SC 29202-2535


                    SCHUMACHER CLINICAL PARTNERS
                    P O BOX 731584
                    DALLAS TX 75373-1584


                    SOUTH STATE BANK
                    P O BOX 118068
                    CHARLESTON SC 29423


                    SOUTH STATE BANK CREDIT SERVICES
                    P O BOX 108
                    SAINT LOUIS MO 63166-0108


                    SOUTHERN CARLSON
                    C/O JEFFREY M QUINN, ESQ
                    P O BOX 596
                    DREXEL HILL PA 19026
Case 19-03137-hb   Doc 1   Filed 06/10/19 Entered 06/10/19 22:45:41   Desc Main
                           Document      Page 11 of 12


                    STEVEN SMITH ESQ
                    P O BOX 40578
                    CHARLESTON SC 29423


                    SYNCHRONY BANK
                    FOR LOWE'S
                    P. O. BOX 530914
                    ATLANTA GA 30353


                    TARGET CARD SERVICES
                    P O BOX 660170
                    DALLAS TX 75266-0170


                    TIM'S CRANE
                    C/O TOM SPEER
                    C2C RESOURCES
                    56 PERIMETER CENTER E, STE 100
                    ATLANTA GA 30346


                    VENTURE INC OF BEAUFORT
                    C/O DENSON H. FRASER JR ESQ
                    PO BOX 22512
                    HILTON HEAD ISLAND SC 29925


                    VENTURE INC OF BEAUFORT
                    10 SAM'S POINT RD
                    LADYS ISLAND SC 29907


                    WAYNE EMERGENCY GROUP
                    1825 BARRETT LAKES BLVD
                    STE 505
                    KENNESAW GA 30144


                    WELLS FARGO CREDIT LINE
                    P O BOX 29482
                    PHOENIX AZ 85038-8650
              Case 19-03137-hb                       Doc 1           Filed 06/10/19 Entered 06/10/19 22:45:41             Desc Main
                                                                     Document      Page 12 of 12



                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Jeff Mills & Co., LLC                                                                          Case No.
                                                                                     Debtor(s)             Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Jeff Mills & Co., LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 10, 2019                                                         /s/ Joseph E. Mitchell, III
 Date                                                                  Joseph E. Mitchell, III
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Jeff Mills & Co., LLC
                                                                       Joseph E. Mitchell, III, P.C.
                                                                       Post Office Box 2504
                                                                       Augusta, GA 30903-2504
                                                                       706-826-1808 Fax:706-826-7959
                                                                       mitchellje@bellsouth.net




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
